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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
                                                                                                          2
                                                         §
In re:                                                   § Chapter 7
                                                         §
ALEXANDER E. JONES,                                      § Case No. 22-33553 (CML)
                                                         §
                 Debtor.                                 §
                                                         §
                                                         §

NOTICE OF SUCCESSFUL BIDDER AND BACKUP BIDDER IN THE AUCTION FOR
     THE ASSETS OF FREE SPEECH SYSTEMS, LLC FREE AND CLEAR
       OF ANY AND ALL CLAIMS, INTERESTS, AND ENCUMBRANCES
                   [Relates to Docket Nos. 859 and 862]

         This Notice of Successful Bidder and Backup Bidder in the Auction for the Assets of Free

Speech Systems, LLC Free and Clear of Any and All Claims, Interests, and Encumbrances is filed

pursuant to the Court’s Order Granting Trustee’s Motion for Entry of an Order Authorizing the

Winddown of Free Speech Systems, LLC [Docket No. 859] (the “Order”),1 which was entered on

September 25, 2024.

         PLEASE TAKE NOTICE that Christopher R. Murray, Chapter 7 Trustee for the

bankruptcy estate of Alex Jones (the “Trustee”) solicited bids for the auction and sale of the IP

Assets and related Remaining Assets consistent with the Order. The Qualified IP Assets Bid

Deadline for submission of bids for such assets was November 8, 2024, at 2:00 p.m. (prevailing

Central Time).

         PLEASE TAKE FURTHER NOTICE that on November 11, 2024, the Trustee caused

notice to be sent to those bidders who submitted Qualified Bids, notifying them (i) that their


1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion for
Entry of an Order (I) Authorizing and Approving the Auction and Sale of Assets of Free Speech Systems, LLC Free
and Clear of All Liens, Claims and Encumbrances and (II) Granting Related Relief [Docket No. 829] or the Order, as
applicable.

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submissions were Qualified Bids; (ii) that they were invited to proceed to the final round of bidding

on November 13, 2024, at 10:30 a.m. (prevailing Central Time) (the “IP Assets Auction”); and

(iii) that the form and format of the overbid process for the IP Assets Auction would be by

submission of highest and best bids in writing.

        PLEASE TAKE FURTHER NOTICE that Qualified Bidders submitted their final and

best offers by the date of the IP Assets Auction. The Trustee reviewed and considered the

Qualified Bids, their cash value, and their overall effect on recoveries for creditors and the interests

of all relevant stakeholders. In his reasonable business judgment, the Trustee has designated the

joint bid by Global Tetrahedron, LLC (“Global Tetrahedron”) and the Connecticut Families2 as

the Successful Bid at the IP Assets Auction and Global Tetrahedron and the Connecticut Families,

jointly, as the Successful Bidder. In his reasonable business judgment, the Trustee has designated

the bid of First United American Companies, LLC (“First United”) as the Backup Bid and First

United as the Backup Bidder.

        PLEASE TAKE FURTHER NOTICE that, as authorized by the Order, the Trustee

intends to close the sale of the IP Assets and related Remaining Assets to Global Tetrahedron

before November 30, 2024.

                               [Remainder of page intentionally blank]




2
 The “Connecticut Families” are collectively Mark Barden, Jacqueline Barden, Francine Wheeler, David
Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto,
Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.

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Dated: November 14, 2024
       Houston, Texas


                                                Respectfully submitted,

                                          By: /s/ Joshua W. Wolfshohl
                                             Joshua W. Wolfshohl (Bar No. 24038592)
                                             Michael B. Dearman (Bar No. 24116270)
                                             Jordan T. Stevens (Bar No. 24106467)
                                             Kenesha L. Starling (Bar No.24114906)
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                                             and

                                             Erin E. Jones (TX 24032478)
                                             JONES MURRAY LLP
                                             602 Sawyer Street, Suite 400
                                             Houston, Texas 77007
                                             Telephone: (832) 529-1999
                                             Fax: (832) 529-3393
                                             erin@jonesmurray.com

                                             Counsel for Christopher R. Murray, Chapter
                                             7 Trustee




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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on November 14, 2024, I caused a true and correct
copy of the foregoing document to be served on all parties receiving ECF service in the above-
captioned case.

                                                   /s/ Joshua W. Wolfshohl
                                                   Joshua W. Wolfshohl




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